Case 2:20-cv-11181-CAS-JPR Document 66-10 Filed 11/01/21 Page 1 of 12 Page ID
                                 #:1305




                           Exhibit B
  Case 2:20-cv-11181-CAS-JPR Document 66-10 Filed 11/01/21 Page 2 of 12 Page ID
                                   #:1306



Document title:                  Robe de maternité pour femmes, tenue taille haute et basse, avec ceinture,
                                 ajustable, col en V, vêtements de photographie, grossesse, allaitement | AliExpress

Capture URL:                     https://fr.aliexpress.com/item/33028418342.html?
                                 spm=a2g0o.detail.1000060.3.7ad724b3Eu95sU&gps-id=pcDetailBottomMoreThisSell
                                 er&scm=1007.13339.169870.0&scm_id=1007.13339.169870.0&scm-
                                 url=1007.13339.169870.0&pvid=86e01a6d-c056-4e57-9172-cd2c5e2ab7e9&_t=gps-
                                 id:pcDetailBottomMoreThisSeller,scm-url:1007.13339.169870.0,pvid:86e01a6d-
                                 c056-4e57-9172-
                                 cd2c5e2ab7e9,tpp_buckets:668%232846%238115%232000&&pdp_ext_f=%7B
                                 %22sceneId%22:%223339%22,%22sku_id%22:%2267206599644%22%7D

Page loaded at (UTC):            Thu, 21 Oct 2021 17:31:56 GMT

Capture timestamp (UTC):         Thu, 21 Oct 2021 17:31:58 GMT

Capture tool:                    2.33.4

Collection server IP:            52.5.8.50

Browser engine:                  Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like
                                 Gecko) Chrome/93.0.4577.0 Safari/537.36

Operating system:                linux x64 (Node v14.17.0)

PDF length:                      11

Capture ID:                      hAZLnoFCHYTPSkziejpNq6

User:                            rimon-IT




                        PDF REFERENCE #:             2fdMuC22mMCUZ1Rj7ayucu
                 Case 2:20-cv-11181-CAS-JPR Document 66-10 Filed 11/01/21 Page 3 of 12 Page ID
                                                  #:1307




Document title: Robe de maternité pour femmes, tenue taille haute et basse, avec ceinture, ajustable, col en V, vêtements de photographie, grossesse, allaitement |…
Capture URL: https://fr.aliexpress.com/item/33028418342.html?spm=a2g0o.detail.1000060.3.7ad724b3Eu95sU&amp;gps-…
Capture timestamp (UTC): Thu, 21 Oct 2021 17:31:58 GMT                                                                                                       Page 1 of 10
                 Case 2:20-cv-11181-CAS-JPR Document 66-10 Filed 11/01/21 Page 4 of 12 Page ID
                                                  #:1308




Document title: Robe de maternité pour femmes, tenue taille haute et basse, avec ceinture, ajustable, col en V, vêtements de photographie, grossesse, allaitement |…
Capture URL: https://fr.aliexpress.com/item/33028418342.html?spm=a2g0o.detail.1000060.3.7ad724b3Eu95sU&amp;gps-…
Capture timestamp (UTC): Thu, 21 Oct 2021 17:31:58 GMT                                                                                                       Page 2 of 10
                 Case 2:20-cv-11181-CAS-JPR Document 66-10 Filed 11/01/21 Page 5 of 12 Page ID
                                                  #:1309




Document title: Robe de maternité pour femmes, tenue taille haute et basse, avec ceinture, ajustable, col en V, vêtements de photographie, grossesse, allaitement |…
Capture URL: https://fr.aliexpress.com/item/33028418342.html?spm=a2g0o.detail.1000060.3.7ad724b3Eu95sU&amp;gps-…
Capture timestamp (UTC): Thu, 21 Oct 2021 17:31:58 GMT                                                                                                       Page 3 of 10
                 Case 2:20-cv-11181-CAS-JPR Document 66-10 Filed 11/01/21 Page 6 of 12 Page ID
                                                  #:1310




Document title: Robe de maternité pour femmes, tenue taille haute et basse, avec ceinture, ajustable, col en V, vêtements de photographie, grossesse, allaitement |…
Capture URL: https://fr.aliexpress.com/item/33028418342.html?spm=a2g0o.detail.1000060.3.7ad724b3Eu95sU&amp;gps-…
Capture timestamp (UTC): Thu, 21 Oct 2021 17:31:58 GMT                                                                                                       Page 4 of 10
                 Case 2:20-cv-11181-CAS-JPR Document 66-10 Filed 11/01/21 Page 7 of 12 Page ID
                                                  #:1311




Document title: Robe de maternité pour femmes, tenue taille haute et basse, avec ceinture, ajustable, col en V, vêtements de photographie, grossesse, allaitement |…
Capture URL: https://fr.aliexpress.com/item/33028418342.html?spm=a2g0o.detail.1000060.3.7ad724b3Eu95sU&amp;gps-…
Capture timestamp (UTC): Thu, 21 Oct 2021 17:31:58 GMT                                                                                                       Page 5 of 10
                 Case 2:20-cv-11181-CAS-JPR Document 66-10 Filed 11/01/21 Page 8 of 12 Page ID
                                                  #:1312




Document title: Robe de maternité pour femmes, tenue taille haute et basse, avec ceinture, ajustable, col en V, vêtements de photographie, grossesse, allaitement |…
Capture URL: https://fr.aliexpress.com/item/33028418342.html?spm=a2g0o.detail.1000060.3.7ad724b3Eu95sU&amp;gps-…
Capture timestamp (UTC): Thu, 21 Oct 2021 17:31:58 GMT                                                                                                       Page 6 of 10
                 Case 2:20-cv-11181-CAS-JPR Document 66-10 Filed 11/01/21 Page 9 of 12 Page ID
                                                  #:1313




Document title: Robe de maternité pour femmes, tenue taille haute et basse, avec ceinture, ajustable, col en V, vêtements de photographie, grossesse, allaitement |…
Capture URL: https://fr.aliexpress.com/item/33028418342.html?spm=a2g0o.detail.1000060.3.7ad724b3Eu95sU&amp;gps-…
Capture timestamp (UTC): Thu, 21 Oct 2021 17:31:58 GMT                                                                                                       Page 7 of 10
                Case 2:20-cv-11181-CAS-JPR Document 66-10 Filed 11/01/21 Page 10 of 12 Page ID
                                                  #:1314




Document title: Robe de maternité pour femmes, tenue taille haute et basse, avec ceinture, ajustable, col en V, vêtements de photographie, grossesse, allaitement |…
Capture URL: https://fr.aliexpress.com/item/33028418342.html?spm=a2g0o.detail.1000060.3.7ad724b3Eu95sU&amp;gps-…
Capture timestamp (UTC): Thu, 21 Oct 2021 17:31:58 GMT                                                                                                       Page 8 of 10
                Case 2:20-cv-11181-CAS-JPR Document 66-10 Filed 11/01/21 Page 11 of 12 Page ID
                                                  #:1315




Document title: Robe de maternité pour femmes, tenue taille haute et basse, avec ceinture, ajustable, col en V, vêtements de photographie, grossesse, allaitement |…
Capture URL: https://fr.aliexpress.com/item/33028418342.html?spm=a2g0o.detail.1000060.3.7ad724b3Eu95sU&amp;gps-…
Capture timestamp (UTC): Thu, 21 Oct 2021 17:31:58 GMT                                                                                                       Page 9 of 10
                Case 2:20-cv-11181-CAS-JPR Document 66-10 Filed 11/01/21 Page 12 of 12 Page ID
                                                  #:1316




Document title: Robe de maternité pour femmes, tenue taille haute et basse, avec ceinture, ajustable, col en V, vêtements de photographie, grossesse, allaitement |…
Capture URL: https://fr.aliexpress.com/item/33028418342.html?spm=a2g0o.detail.1000060.3.7ad724b3Eu95sU&amp;gps-…
Capture timestamp (UTC): Thu, 21 Oct 2021 17:31:58 GMT                                                                                                      Page 10 of 10
